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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA

                           Alexandria Division



IN RE; ESTATE OF LARRY W. COOK
      Deceased


JANINE SATTERFIELD, in her
Capacity for the Estate of
Larry W. Cook,

      Plaintiff,


V.                                     Civil No. l:23-cv-00009


WELLS FARGO BANK, N.A.,
et al.,

      Defendants.



                            MEMORANDUM OPINION


       THIS MATTER comes before the Court on Defendants Wells

Fargo Bank, N.A. (^^Wells Fargo") and Navy Federal Credit Union's

("Navy Federal") Motions to Dismiss pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure.

      This case arises from a series of events involving
international wire transactions where the decedent, Larry W.
Cook ("Cook"), transferred funds from his accounts at Navy
Federal and Wells Fargo to bank accounts in Thailand. Over a

six-month period. Cook processed seventy-four wire transfers
from his Navy Federal account and one wire transfer from his
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 Wells Fargo account to accounts with Standard Charters and the

 Bank of Bangkok, totaling $3,680,700. A majority of the wire
 transfers' listed purpose was "Loan Repayment."

      Plaintiff Janine Satterfield is Cook's niece and the

 administrator of his estate. Plaintiff filed this action seeking
 to recover the funds Cook transferred to the bank accounts in

 Thailand from his Navy Federal and Wells Fargo accounts.
Plaintiff alleges that Cook was the victim of a scam dealing
 with fake calls where the scammers would claim they were calling
to address issues with the recipient's Amazon or Apple accounts

in order to obtain sensitive personal infonnation. Plaintiff

alleges Navy Federal put out a customer alert on December 3,

2020 on "Fake calls from Apple and Amazon support; What you need

to know." The Federal Trade Commission also put out a

 notification warning that scammers were making these types of
 phone calls.

      Plaintiff claims Navy Federal reported Cook to Fairfax

Adult Protective Services ("APS") on December 15, 2020 for wires

conducted in a manner indicative of possible elder financial

sxploitation. This report to APS also said Cook was warned

numerous times that he was the victim of a scam but he still

chose to continue with the wires. Following Navy Federal's
report, APS did an investigation into Cook, however, the report
states Cook refused to meet with APS. On several occasions APS
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 attempted to speak with Cook and each time he refused to

 cooperate or provide any information that would have allowed APS

 to further investigate him. On January 28, 2021, APS sent a

 letter to Navy Federal stating that the "investigation has been
completed/ and at this time, Mr. Cook is in need of protective
 seirvices." The letter also said that "[a]vailable and

appropriate services will be offered." APS closed the

investigation on February 1/ 2021, noting the disposition of the
investigation as: "Needs Protective Services - Refused." Cook

continued to have Navy Federal wire funds to international

accounts throughout the APS investigation and even after the

investigation closed. Navy Federal processed the transfers as
Cook instructed.

      On April 21/ 2021/ Cook died intestate. On June 14, 2021,

Plaintiff qualified as Administrator of Cook's estate and later

 brought this action on behalf of the estate in the Circuit Court

of Fairfax County. Plaintiff's claims against Navy Federal

include assumption of voluntary duty, breach of the covenant of

good faith and fair dealing/ and negligence/voluntary assumption
of duty. Plaintiff's claim against Wells Fargo is breach of the

covenant of good faith and fair dealing. Defendants subsequently
removed the case to this Court.

      A motion to dismiss for failure to state a claim under Fed.

R. Civ. P. 12(b)(6) tests the legal sufficiency of a complaint.
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 See Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir.

 1999). A court should dismiss a complaint if the plaintiff fails
 to proffer "enough facts to state a claim to relief that is

 plausible on its face." Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). A plaintiff's "obligation to provide the

grounds of his ^entitlement to relief requires more than labels
and conclusions, and a formulaic recitation of the elements of a

cause of action will not do."           at 555 (internal citation

omitted). A claim will lack "facial plausibility" unless the
plaintiff "plead[s] factual content that allows the court to

draw the reasonable inference that the defendant is liable for

the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662, 663

(2009). A complaint must contain sufficient evidentiary facts to
raise a plausible—as opposed to a merely conceivable-inference

that the Plaintiff is entitled to relief. Twombly, 550 U.S. at

570; Iqbal, 556 U.S. at 680. Plaintiff must allege enough facts

"to raise a right to relief above the speculative level[.]"

Robinson v. Am. Honda Motor Co., 551 F.3d 218, 222 (4th Cir.

 2009) (quoting Twombly, 550 U.S. at 555, 570).

      Defendants move to dismiss Plaintiff's Amended Complaint
pursuant to Fed. R. Civ. P. 12(b)(6) on the first ground that

Plaintiff's state law claims relating to Cook's wire

transactions are preempted and displaced by Article 4A of

Virginia's Uniform Commercial Code ("UCC").
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      Article 4A of the UCC applies to wire transfers and has

been codified under Virginia Law as Va. Code § 8.4A et, seg. See
Va. Code § 8.4A-102 (stating the title applies to funds

transfers defined in § 8.4A-104); Va. Code § 8.4A-104, cmt. 6

("[M]ost payments covered by Article 4A are commonly referred to
as wire transfers and usually involve some kind of electronic

transmission..."). Section 8.4A states that to "resort to

principles of law or equity outside of Article 4A is not

appropriate to create rights, duties and liabilities

inconsistent with those stated in this Article." Va. Code

§ 8.4A-102, cmt.

      Plaintiff argues Navy Federal and Wells Fargo had a duty to

protect Cook and prevent his losses by not accepting his payment

orders. While a bank can be liable under Section 212 for not

accepting a payment order, no provision of Section 8.4A imposes

liability on a receiving bank that properly executes a duly

authorized wire transfer by the sender. Further, a "bank owes no

duty to any party to the funds transfer except as provided in

 this title or by express agreement." Va. Code § 8.4A-212. The

 UCC also expressly preempts liability on the part of a bank for

 conduct that occurs before a bank accepts a payment order. See

     Under Article 4A, "[1]lability based on acceptance arises

only when acceptance occurs as stated in § 8.4A-209, and

liability is limited to that provided in this title." Va. Code
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 Ann. § 8.4A-212. A receiving bank "does not otherwise have any
      ..before acceptance, to take any action, or refrain from

 taking any action, with respect to the order except as provided
 in this title or by express agreement." id.

      Plaintiff's claims stem from Navy Federal and Wells Fargo
accepting Cook's order to transfer funds to the overseas

accounts as the receiving bank. Since Article 4A prohibits

liability for wire transfers before a payment order is accepted.
Plaintiff's claims attempting to have the Court enforce

liability on Defendants for conduct before acceptance of Cook's
transfers must fail.


      Plaintiff's first claim, assumption of voluntary duty, is
not recognized under Virginia law. Plaintiff argues Defendants

undertook a voluntary duty to protect Cook by reporting the

circumstances surrounding Cook's transfers to APS and then not

taking steps to stop sending wires for him. As a general rule

under Virginia law, "a person does not have a duty to warn to

 protect another from the criminal acts of a third person."

 Commonwealth v. Peterson, 286 Va. 349, 356 (2013)(citations

omitted). A duty only arises under these circumstances "when a

special relationship exists between a defendant and a plaintiff
that gives rise to a right of protection to the plaintiff or
between the defendant and third persons that imposes a duty upon
the defendant to control the conduct of the third person causing
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 reasonably foreseeable danger to the plaintiff." Kellermann v.

 McDonouqh. 278 Va. 478, 492 (2009){citations omitted). There are

 limited situations where a special relationship exists to impose
 such a duty. These limited situations are ones where an

 i^^ividual has assumed the obligation to take charge over, and
 control the behavior of, the third party. See Nasser v. Parker,

249 Va. 172, 179-180 (1995). Navy Federal's report to APS

concerning Cook's well-being does not meet the special

relationship requirement to impose a duty. Thus, there was no

assumption of voluntary duty by Navy Federal. There is also no

contractual language Plaintiff can point to that created a

special relationship with Defendants. The relationship between

 Cook and Defendants was that of a depositor and depository bank

 created by the contracts of deposit.

      Plaintiff's second claim, breach of the covenant of good
faith and fair dealing, alleges Defendants breached the covenant

 by failing to adequately investigate the suspicious transactions

 and transfers from Cook. Under Virginia law, "when parties to a

 contract create valid and binding rights, an implied covenant of

 good faith and fair dealing is inapplicable to those rights."

 Ward's Equip, v. New Holland N. Am., 254 Va. 379, 385 (1997).

      Since the parties created valid and binding rights under
 the contracts of deposit, an implied covenant of good faith and
fair dealing is inapplicable. Further, Plaintiff does not
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identify any contractual provision breached, as is required to
 survive a motion to dismiss where a valid contract is present.
 While the parties do have contracts of deposit, Plaintiff's
failure to identify a breached provision, means she fails to

state a claim.


      Plaintiff's third claim, negligence/voluntary assumption of
duty, alleges that Navy Federal did not have a contractual

obligation to report Cook to APS but by doing so, a special
relationship was formed which imposed a duty to act on Navy
Federal. Navy Federal's report to APS was given in confidence.

Plaintiff does not allege any facts that Navy Federal ever made

any kind of representation to Cook or anyone else that it would

affirmatively take action to negate criminal conduct of other

accountholders or investigate the purpose for wires.

      Plaintiff points to the APS report where it states: "The

investigation has been completed, and at this time, Mr. Cook is

in need of protective services. Available and appropriate

services will be offered." The report also states throughout

 that their investigation was limited due to Cook's lack of

cooperation. This is not a sufficient basis to impose a duty not

included in the party's contact. Virginia law prohibits the

existence of a duty by a bank to its depositor under the

circumstances here.
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       Finally, Plaintiff's tort claims are precluded under the

economic loss rule. Under Virginia law's economic loss rule, a
plaintiff may not rely on a tort theory to recover losses
against a defendant. See Filak v. George, 267 Va. 612, 618
(2004). Here, Plaintiff's claims all stem from obligations due
to a contractual deposit agreement between Defendants and Cook.

Since the source of Defendants' duties arise out of a

contractual duty, and Plaintiff's claim for negligence focuses

on conduct arising out of that contractual duty, the claim is

founded in contract, not tort.

       For   the   foregoing   reasons,   the   Court   finds   Defendants'

Motions to Dismiss are granted. An appropriate order shall issue.




                                          CLAUDE M. HILTON
                                          UNITED STATES DISTRICT JUDGE
Alexandria, Virginia
 May      2023
